Ol Oo ON OO PB WwW DH A

NO RD PO PR PR KH NYO NO YO Fe HF | SF | YF Fe FR AF =
oOo nN OD Mm HR DO DO FHF FCO OO DB NY DO OD FP WC DY =

ASSOCIATION OF AMERICAN
_ INTERNATIONAL MEDICAL 2. EXPEDITED DISCOVERY,
| GRADUATES, INC., a Nevada

a.k.a. “presaaimg@hotmail.com,” an

_ individual; and RACHAEL E. SILVER,
| an individual, MEMORANDUM OF POINTS AND

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 1 of 25

- ORIGINAL ~

GREENBERG TRAURIG LLP f.
Mark G. Tratos (Bar No. 1086) (Local Counsel) Vo ee
F. Christopher Austin (Bar No. 6559) (Local Counsel) - . cee be
Ronald D. Green, Jr. (Bar No. 7360) (Loca/ Counsel)

3773 Howard Hughes Parkway, Ste. 500 N 7035

Las Vegas, Nevada 89109 fis UL 12 A It: 3q
Tel: (702) 792-3773 cos

Fax: (792) 792-9002 Ge} ioe fe es

KRONENBERGER & ASSOCIATES ay WZ fcr eey
Karl S. Kronenberger (CA Bar No. 226112) (Pro Hac Vice) a ere
Terri R. Hanley (CA Bar No. 199811) (Pro Hac Vice)

220 Montgomery Street, Suite 1920

San Francisco, Caltfornia 94104

Tel: (415) 955-1155

Fax: (415) 955-1158

cneverrone FILED SEPARATELY
SEALED

DISTRICT OF NEVADA .
ST. MATTHEW'S UNIVERSITY (CAYMAh
LTD., a Cayman Islands company,

 

CV-S-05-0848-RCJ-LRL

Plaintiff,
EX PARTE MOTIONS FOR:

ws 1. PRESERVATION ORDER,

corporation; THOMAS MOORE, M.D. 3. FILING UNDER SEAL, AND

individual; SARAH B. WEINSTEIN a.k.a. 4. CONSOLIDATED HEARINGS;
“execsecaaimg@hotmail.com,” an

AUTHORITIES IN SUPPORT.

SEALED

Plaintiff ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD. (“ST. MATTHEW 's’),

Defendants.

 

 

through its attorneys, pursuant to Local Rules and the inherent powers of this Court,
hereby brings ex parte motions for the issuance of orders for Preservation of Evidence;

Expedited Discovery; Filing Under Seal; and for consolidated hearings thereon.

CONSOLIDATED EX PARTE MOTIONS

 
oD Oo ODN OW oO FF WO PP =

oOo NY @D oO BP DW DYNO FF OD OO DB nN Do FP W DN >

 

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 2 of 25

—

wear

ST. MATTHEW’s seeks these motions on an ex parte basis as the sole means of

preserving necessary evidence and the proper identification and service of process upon

parties hereto, both necessary to the fair, accurate, and efficient resolution of this case.

These motions are brought and supported by the papers and pleadings attached

hereto, and by the attached Memorandum of Points and Authorities In Support.

DATED: July 8, 2005.

DATED: July _U_,

2005.

KRONENBERGER & ASSOCIATES

3 Lat:

Karl S. Kronenberger

Terri R. Hanley

Attorneys for Plaintiff

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

ee /

Mark G. Tratos

F. Christopher Aust

Ronald D. Green, Jr.

Designated Local Counsel fdr Plaintiff

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

 

CONSOLIDATED EX PARTE MOTIONS

|

 

 
oOo O Oa Nn DO oO FP }O YO —

NM Mm NM HM NY MWB NY NYP NY A= Bae Bsa a se Bs Ba Ba Bw a
on Oo A B OND SF CO O DA N DW OD B ww NH =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 3 of 25

— wer

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT

Introduction

In connection with the attached verified Complaint (the “Complaint”), filed herewith

and incorporated herein by reference’, Plaintiff ST. MATTHEW’s seeks the following

orders, with the common and collective goa! of preserving the integrity and existence of

crucial and volatile evidence necessary for the fair and efficient resolution of the case at

hand:

a

Preservation Order: an order preserving now-existing electronic evidence in
the possession, custody and/or control of non-parties, which is subject to
intentional, inadvertent, and/or automated deletion;

Expedited Discovery Order: an order allowing the immediate discovery of
identifying information sought in the attached non-party subpoenas and other
subpoenas to follow, required for the full and accurate identification and
location of defendants;

Order for Filing Under Seal: an order allowing the attached verified
Complaint, this motion, and any and all other papers in submitted in the case,
as well as the case docket and any orders issued, to be filed under seal, to
protect against notice of this action to as yet unidentified parties and non-
parties shown to be highly likely to destroy evidence or evade service,
discovery and identification; and

an order for a consolidated hearing on these matters.

Plaintiff further seeks the above motions (collectively, the “Motions”) — which serve

merely to preserve evidence and identify parties — on an ex parte basis, as Plaintiff has

alleged and shown, and will prove at trial, that Defendants operate using fraud and

deception designed to evade identification, discovery, service, and civil and criminal

liability. including using false names and corporate identities, non-operating addresses,

 

' The filing of Plaintiff's Complaint is conditioned by Rule and election upon the Plaintiff's
Motion to File Under Seal, infra.

CONSOLIDATED EX PARTE MOTIONS

 
oOo Oo ON OO BR WD PP S|

RO RO RDO PR PR KF PN PD KN FF Ff He Ss Ae Se =e oe ae em
oOo N OD OO BR WHO NY | BD Oo WO N DW OT BP WHO PH =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 4 of 25

— =e

and misrepresentations regarding their personal and corporate existences. Plaintiff has
also alleged and shown the Defendants have acted as a matter of course in a way to
purposely avoid being located and to “hide their tracks” regarding their unlawful activities
upon which this lawsuit is predicated. Given this blatant propensity on the part of
Defendants for deception and evasion, the relief sought must be granted with no notice to
Defendants.

While argument and legal authority are laid out in turn for each of the above
requests, facts in common to all are stated directly below.

COMMON FACTS

As detailed in the attached verified Complaint, incorporated herein by reference,
Plaintiff has for the last three years been the targeted subject of false and defamatory
statements directed at it by Defendants, operating using pseudonyms and false
information and via an Internet website.

Plaintiff ST. MATTHEW’s, a private medical school located in the Cayman Islands,
British West Indies, is hugely reliant upon its academic reputation in the medical
community, both for its enrollment and for the post-graduate placement of its students in
medical residencies throughout the U.S. and around the world.

Defendants have preyed upon this fact by publishing a website (“AAIMG.com’)
defaming Plaintiff in the quality of its educational services, posting fabricated and falsely
critical results of a purported in-depth, on-site inspection it claims to have conducted of
Plaintiff ST. MATTHEW’s. A true and correct copy of Defendant AAIMG’s website Is
attached hereto as Exhibit “A”. Plaintiff ST. MATTHEW’s has alleged on information and
belief that such an inspection never took place, and the publication of these falsehoods
prompted ST. MATTHEW ’s to investigate their source. Compl. at 1134-67.

Defendant AAIMG claims — and at first blush appears — to be a non-profit,
independent “association” of Americans who are graduates of international medical
schools. Their self-stated agenda is to further the acceptance in the American medical

community of foreign-schooled doctors. Ex. A at 2. Strangely, the only activity

CONSOLIDATED EX PARTE MOTIONS

 
—_

Oo O© Oo N ODO oO FP WO DY

NO RO. PO. Ph PO PDP PD NY NO | S| BAB BSB BSB > Se eS Ss |
Oo N @D on BR WHO NYO FY CO OF DN DOD OD FP WW YP =|

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 5 of 25
~ ~
undertaken to advance this agenda is the above-mentioned posting of “results” of
purported site inspections of various foreign medical schools, with an unexplained original
and particular focus on the Caribbean region. Ex. A at 4.

Defendant AAIMG has achieved a notable and disturbing level of recognition in the
American medical educational community, with many prestigious institutions such as
Cornell University and Harvard Medical School linking to the AAIMG website as reference
material for medical schoo! applicants and hospitals reviewing applications for
residercies. (See attached list of websites linking to “aaimg.com,” attached hereto as
Exhibit B.)

Plaintiff deems Defendant AAIMG’s notoriety “disturbing” in that thorough
independent investigation contracted by ST. MATTHEW 's has revealed a much more
nefarious and subversive — and unlawful — reality regarding Defendant AAIMG:

« This “association” has no members, and no way to join;

" The only operation of AAIMG is a single, twelve-page website purportedly

managed and hosted out of Russia (see Ex. A);

" The only contact information provided on AAIMG’s website: is a non-
operational mail-drop service address in Nevada, and two Hotmail email
addresses’ attributed to each of two listed officers of AAIMG (Ex. A at 43);

« With no staff, no capital, and no apparent source of income, AAIMG claims to
have conducted no less than 25 intensive, on-site investigations around the
globe, such investigations having been shown to cost approximately $50,000
each (See Ex. A at 11-20; Compl. at 963.)

« AAIMG turns out to be a standard Nevada for-profit corporation, but lists no
actual operating address (only that of a corporate services office, VAL-U-CORP

Services, Inc. (“VAL-U-CORP”), of Nevada);

 

* Hotmail email addresses are free, publicly available Internet-based email accounts that
require no personal or verifiable information for registration, and can be accessed from
any computer with a web browsing program and an Internet connection.

5 CONSOLIDATED EX PARTE MOTIONS

 
oOo OO DODO NN DO oO BP WO PF =

RO RM Nh KN PP PH DN KD KN Ho SF Ff | FP Fe Ffe oO ooOH-rmdmdmdhDdr?WhUhUh]
oOo nN OD om FBP WHO NYO | 8D OO WN DO NO FP WO YP =

 

 

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 6 of 25

_ Nwqeet

" AAIMG gives no actual address for any of the three officers it lists (individual
Defendants),but instead lists the address of VAL-U-CORP.

" A full-blown investigation by an international private investigatory firm has not
been able to locate the only two individuals identified on the AAIMG website —
Defendants Thomas Moore, M.D., (AAIMG President) and Sarah Weinstein
(AAIMG Secretary) — nor the third individual Defendant, Rachael Silver (AAIMG
Treasurer).

" There are only 28 Thomas Moore, M.D:s listed with the American Medical
Association. None are graduates of international medical schools. Of those
28 Thomas Moore, M.D.s, nine have been found not to be the man pictured on
AAIMG's website, leaving only 19 possible matches in all of the United States.
Each of those 19 gentlemen have listed affiliations with professional medical
practices in various U.S. States — none to AAIMG.

=urthermore, regarding the only two operational, identifiable aspects of AAIMG —

the twc Hotmail email addresses’ attributed to Defendants Moore and Weinstein —
Plaintiffs investigations have revealed the following:

* Both email accounts are routinely accessed from the same location by the
same user account;

« Email sent to one account has been responded to from the other;

* The Hotmail accounts are often accessed from anonymous, public Internet
access locations across the country, such as Internet cafés, hotels, and trade
shows; the only access points consistent with residential or small-business

Internet access accounts are clustered around Boston and Florida.”

 

3 The American Medical Association indexes all medical doctors licensed in any of the
United States or Territories.

* The metadata for the aaimg.com website shows an original contact email address of
“aaimg@yahoo.com,” which is not referenced in the website, and appears to be defunct.
Plaintiff seeks discovery regarding this email account to verify its status and origination
information, infra.

° These key access point identifications are the primary focus of the discovery sought in
the attached subpoenas, to identify the holders of the accounts used to by Defendants.

6 CONSOLIDATED EX PARTE MOTIONS

 
oO OO Oo NN OD oO F WO PBS =

ND Rd RO RO KR DR KN NY NO FHF Ff Ff SFP fF Ff Fo PF PS hl
Oo N OD Oo BR WD DY HF |O OO DB N DO OT FP W NY =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 7 of 25

— 9

» AAIMG’s website warns that it may take several days for responses to be sent
to emailed inquiries — a necessary arrangement for someone waiting to access
Hotmail accounts while traveling or from Internet cafés in order to avoid being
tracked or traced.

See also, Compl. at 1134-67.

All of these factors converge to create the undeniable inference that, far from being
the well-funded, altruistic professional institution it claims to be, AAIMG is instead
primarily a single individual, operating a bare-bones website, using fabricated identities
and corporations with fictitious officers, employing anonymous, randomized account
access, all in a concerted effort to avoid identification, discovery, and thereby liability. On
information and belief, ST. MATTHEW ’s alleges, and intends to prove that this farce of an
operation is either shielding a “shake-down’” artist (or artists) looking to extort money from
injured institutions - acts of which they have been publicly accused — or more sinister,
shielding one of more individual administrators of a competing Caribbean medical school.
Either way, ST. MATTHEW’ intends to ferret out the person or persons truly responsible
and bring to them answer before this Court.

While Plaintiff ST. MATTHEW’s has suffered actual and extensive injury as a result
of the public's reliance on AAIMG’s bogus operations, it is certainly not the only victim.
Many other small medical schools have been defamed and similarly injured (Ex. A at 14-
20) — though noticeably absent are several — related — key competitors of Plaintiff, who
instead are conspicuously lauded rather than panned. (Ex. A at 11-13.)

Public policy concern also exists in that, for years, AAIMG has been the subject of
intense suspicion and discussion in many online discussion boards for medical students,
graduates, and prospective students — some of whom were directly and personally injured
by AAIMG’s negative “reviews” of their schools, and often calling for an investigation into
AAIMG, or at the very least, a disclosure of their accreditations and affiliations, which

never came — until now. (See attached Exhibit C for examples.)

CONSOLIDATED EX PARTE MOTIONS

 
oO Oo Oo ND OO BP }O PE =

NO RN ff NR NPN KR KN NO NO F- Ff HF FeO FeOdOOODFrermrmdmdDmwDOrOX dh -X*~ oh -~ >
Oo NY OD OO BP WO DNDN F 2D OO DOH NN DOD OD FPF W DY =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 8 of 25

~eor

On its own behalf, on behalf of its student body past, present and future, on behalf
of the other medical schools injured, of behalf of international medical students
everywhere, and in the interest of justice, every effort must be taken to identify the

perpetrators of this continuing wrong-doing and bring them to answer for their actions.

I. ORDER FOR PRESERVATION OF EVIDENCE REQUIRED

In light of the above-stated and referenced facts, Plaintiff ST. MATTHEW's has a
considerable and justified concern that, upon any notice or service of any motion or
summons in the present action®, Defendants will act quickly and untraceably to destroy
any evidence — particularly electronic evidence — in their possession or under their
control. Furthermore, the evidence at issue is subject to automated deletion by the non-
parties in possession.

As such, the evidence at issue is under a specific, significant, and imminent threat
of loss sufficient to require the issuance of the order sought.

laintiff therefore seeks an order preserving the any all information regarding

no

AAIMG, the email addresses “presaaimg@hotmail.com,” “execsecaaimg@hotmail.com,”
and “aaimg@yahoo.com,” and the domain name “aaimg.com,” to be served together with
those non-parties subpoenas attached hereto as Exhibit “D.”. The evidence sought
therein is crucial and necessary to the fair and effective resolution of this matter, and an
order preserving the existence of such information for future discovery is crucial as there
exists a high likelihood that such evidence will be intentionally and/or automatically
destroyed, particularly the electronic evidence under the control of third parties.

a. This Court has inherent power to order preservation of evidence.

It is recognized that Courts have the inherent power to take action to preserve

evidence, a power akin to administering membership of the bar and dismissing cases for

failure to prosecute. See Pueblo of Laguna v. United States, 60 Fed.Cl. 133 (Fed.Cir.

 

° Federal law, as well as many subscriber agreements, requires that ISPs provide notice
to an account subscriber that their personal information is being sought by subpoena or
by cout order. See, e.g. 47 U.S.C. § 551(c)(2)(B) (2005).

8 CONSOLIDATED EX PARTE MOTIONS

 
Go Oo DN DD oO FF WO NYP =|

NM MPM PR PR PNM MF NYO KN NY FF | | Se |S SS FF FHF | =
Oo nN OD on BR W NYO FH CO OO WD N DW AT FP WO NY |

 

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 9 of 25

— ~~

2004); Capricorn, 220 F.R.D. at 432-3 (“[M]Jotions for preservation of documents or things |

and orders granting such motions have become widely used in place of restraining orders
or injunctions. . . . It must also be recognized that district courts have the power to control
the discovery process and overall case management.”) (emphasis added).

It is notable that the only Federal Court to have published a comprehensive
opinion addressing the issuance of preservation orders noted a particular and pressing
need for such an order in cases such as the present one, where electronic evidence is
subject to the inadvertent or systematic deletion by non-parties. See Capricorn Power
Company, Inc. v. Siemens Westinghouse Power Corp., 220 F.R.D. 429, 431-6
(W.D.Penn. 2004):

“The Court notes that orders directing parties to preserve materials or
documents are common in circumstances in which evidence is subject to
being destroyed or lost in routine and sometimes not-so-routine deletion or
destruction of information in various mediums. ... Such a situation may
require immediate action by the court to preserve such electronic evidence
at least temporarily in order that the parties may have an opportunity to
confirm that such evidence is relevant to the claims before the court."

b. Evidence Sought Subject to Intentional and Automated Deletion.

Plaintiff has shown above, and alleged in the attached verified Complaint, that
Defendants have acted in a purposeful and consistent manner indicating an intention to
evade detection, identification and liability. Their fraudulent practices are evidence of the
high likelihood that, upon notice of this action, Defendants will act to destroy or hide
evidence.

in addition to preventing the intentional destruction of evidence, the order seeks to
prevent the automated, scheduled account and content deletions carried out by many
ISPs and email account providers, including Hotmail and Yahoo, which commonly have
automatic data deletion procedures based on the age, location, and usage levels of
accounits and their contents, independent of any actions by the account user. Cable

Internet service providers, for example, are required by Federal law to delete subscriber

CONSOLIDATED EX PARTE MOTIONS

 
0 Oo DN ODO OO FP WO NYO =|

RO Rd PO PO RN HF ND NYO NO | FP OP FP FPF FPF FPF Ff Kf st
oOo nN OD oO FP O NO |= CO OF DWN DO OD FF WO NY =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 10 of 25

—* ~~”

data upon certain events, such as the closing of the account. See 47 U.S.C.
§ 551(e) (2005).
c. Balance of Interests Test Strongly In Favor of Issuing Order.

While case law on preservation orders is extremely scarce, and while this Circuit
has not spoken to any test regarding them, the Western District of Pennsylvania in 2004
conducted a thorough survey and analysis of the pertinent law, and distilled from it a
three-factor balancing test, urging its adoption in other Federal Circuits. Capricorn, 220
F.R.D. at 433-434. Plaintiff applies this test to the present case, as the most
comprehensive test available, and shows below the outcome strongly favors issuance:

1. First Factor: Court’s level of concern in maintaining existence and
integrity of evidence in absence of an order favors issuance.

This first factor looks to the past, present, or future threat of the continuing
existence, or integrity of, evidence relating to the case. Capricorn at 434-435. Of the
three situations noted by the court where a preservation order would be effective, two are
clearly present here: (1) that evidence is outside the possession of all parties, creating a
concern for its continued existence, and (2) the “basis for concern” that a party would
destroy or damage evidence. As explained above, Defendants (named and unidentified)
have been shown to have the propensity for evasion and deception, and it is highly likely
that they will act to destroy evidence upon notice of legal action; also, the evidence
sought is subject to automated and routine deletion by the non-party service providers
identified. As such, this prong distinctly favors granting of the order.

2. Second Factor: Possibility of Irreparable Harm In Absence of
Preservation Order Sought Strongly Favors Order.

The second factor decidedly favors Plaintiff, as it has shown that the evidence

sought is Plaintiff's only means by which to identify and locate parties to this suit, both

named and as yet unidentified.” In Capricorn, the Court noted of this second factor that

 

” See Capricorn at 435, noting second factor favors issuance where ‘[t]he loss or
destruction of certain evidence can result in significant prejudice to the party seeking to
use it in proving the party's claims.”

10 CONSOLIDATED EX PARTE MOTIONS

 
oO Oo ON OO oO FF WwW DY =

Ph Rh PO PM PMR PR YP KD KN | FSF FP Ff Ff fF | FF FF B=
Oo nN @ 7 B WHO NYO Fe CO Oo DB N DD a FP WO DY

 

 

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 11 of 25

— ~~”

“certain evidence may be so integral and essential to a party's case that an order of
preservation .. . may be required, even in the absence of a threat of imminent, significant
harm to the integrity or existence of the evidence,” indicating that this factor holds greater
weight in the balancing test than that of the first factor. Capricorn at 435 (emphasis
added). In such a case, that Court held “it becomes a judicial duty to protect a party from
likely harm by acting to prevent the loss or destruction of evidence, thereby ensuring that
the party may prosecute or defend its case in a court of law.” /d. (emphasis added).
3. Third Factor: Ability to Maintain and Preserve Evidence.

The third and final factor also favors Plaintiff. This factor looks to the physical
ability of persons to preserve the evidence at issue, and the burden of an order thereon.
Capricorn at 435-436. The order sought places no burden upon Defendants, as the
information sought is not in their possession nor consumptive of their resources. As to
the burden upon non-parties, it is minimal, being of an electronic nature and capable of

being “oacked-up” to removable media (such as CD-ROMS) at minimal expense, which

| costs will be paid for by Plaintiff.®

it is clear, therefore, that Plaintiff meets this very comprehensive and fairly-

' balances test, as all factors weigh strongly in favor of Plaintiff; as such, the order sought
_ should issue as against any party in possession of the evidence sought in the subpoenas
- at issue.

Lt. ORDER FOR EXPEDITED DISCOVERY

As the facts stated above make clear, Plaintiff requires the verification and/or
discovery of the identities and locations of Defendants in order to effectuate proper
service upon the parties responsible for the wrongs alleged. Pursuant to Rule 26, good
cause showing as to why such relief is needed, Plaintiff ST. MATTHEW’s hereby moves

the Court to allow for the immediate discovery, in advance of the required Rule 26(f)

 

®° For example, Hotmail has in place a standard procedure for the backing-up and
recording of electronic data sought by order or subpoena, and charges a minimal
“preservation fee” for the data to be stored on disc and preserved for production upon
order.

1 CONSOLIDATED EX PARTE MOTIONS

 
oO OO ODO NN OD OD FPF WOW NYO =

RO RO PR RO KR RP PD DO NO HF Ff HF Fe Ferre Z>s~rOmrmrmdmrOer—,s~ mas, |
Oo N OD oo FP W NY F TD Oo WA NY DO oO FPF WO PNY =|

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 12 of 25

—_ “ge

meeting on discovery, sought in the subpoenas attached hereto as Exhibits “D” and “E”
(the “Subpoenas’”),’ and such further subpoenas as are required to abtain identifying
information discovered by the Subpoenas.
a. Expedited Discovery Necessary For Proper Pleading and Service

Expedited discovery is allowed where “good cause” is given by a showing that the
need for discovery outweighs any possible prejudice to the party from whom discovery is
sought. See Semitool, Inc. v. Tokyo Electron America, Inc. 208 F.R.D. 273, 276
(N.D.Cal. 2002). As explained above, and in the attached Complaint, Plaintiff has great
need for the immediate discovery of the identifying information sought, which is

necessary to properly plead its case and serve process upon both named and as yet

 

unidentified Defendants. The scope of Plaintiff's requested discovery is limited to this
need.

In fact, it has been noted that “[e]xpedited discovery may also be appropriate in
cases where physical evidence may be consumed or destroyed with the passage of time,
thereby disadvantaging one or more parties to the litigation.” Qwest Communications,
Int'l, Inc., v. World Quest Networks, Inc. 213 F.R.D. 418, 419 (D.Colo. 2003), citing Pod-
Ners, LLC v. Northern Feed & Dean of Lucerne Ltd. Liability Co., 204 F.R.D. 675, 676
(D.Colo. 2002). As shown above, not only is the discovery sought necessary to further
these proceedings, but it is also at considerable risk of automated or intentional deletion
by Defendants and custodial non-parties.

Sood cause may also be found where the moving party has asserted claims of
infringement and unfair competition. See, e.g., Energetics Systems Corp. v. Advanced

Cerametrics, Inc., 1996 WL 130991, *2 (E.D.Pa.1996).

 

° To note: for sake of brevity, only the first page of the form of Rule 45 subpoenas are
attached for the Court’s reference; the blank proof of service and instruction attachments
have been omitted for space consideration, but will be served upon the recipients.

12 CONSOLIDATED EX PARTE MOTIONS

a

 
—_

oO OO aoa NN DO oO FR WO PD

NM RN Ph PP NM KF NM VY NY | AB Be Bae Bae se =e ase se |
Oo N ODO on BR WD NO Fe BOD HO DWH N DD OD BP WD NY =|

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 13 of 25

— ~~

b. There is NO burden to either the parties from whom discovery is
sought, or to the Defendants.

Plaintiff seeks merely identifying information from non-party sources for the
purpose of pleading and service. As explained above, this information — most all of it in
digital format — can be, and often is, digitally copied, backed-up, and stored for future
production at little to no cost, or at a minimal cost for which Plaintiff will reimburse the
appropriate parties. As to the Defendants, the information sought is not in their
possession, and the storage and/or production process would impose absolutely no duty
or impingement upon their time or resources.

c. There Is No Constitutional Privacy Right in Account Subscriber Data

Courts have held that computer users do not have a legitimate expectation of
privacy in their subscriber information - such as subscribers' names, addresses,
birthdates, and passwords — because they have conveyed it to another person—the
system operator. See Guest v. Leis, 255 F.3d 325 (6th Cir 2001), citing United States v.
Maxwell, 45 M.J. 406, 418 (CAAF 1996); United States v. Kennedy, 81 F.Supp 2d 1103,
1110 (D.Kan. 2000) (rejecting a privacy interest in subscriber information communicated
to an internet service provider); United States v. Hambrick, No. 99-4793, 2000 WL
1062039, at *4 (4th Cir Aug 3, 2000) (unpublished) (holding that defendant destroyed any
privacy interest in his subscriber information when he conveyed it to an internet service
provider (citing United States v. Miller, 425 U.S. 435, 442 (1976)).

d. Subpoenas Seek Only Identifying Information

The Subpoenas are minimally invasive, and carefully drafted to meet Plaintiff's
prosecutorial needs, seeking only identifying information regarding accounts used by the
Defendants in administering the AAIMG corporation and website. See Qwest Comm.,
213 F.R.D. at 420 (scope of discovery sought should be considered when determining
“good cause” showing). The subpoena recipients fall into two categories:

Exhibit A: Defendant AAIMG’s Website.

13 CONSOLIDATED EX PARTE MOTIONS

 

 

 
Co O ODO NN OD oO FF WOW NY =

RP MP NBO PPO DN DN YP NY NY FP Fe Fe 2B Fe FP Fe Fe HS dh
oN OD Oo F WO DY fF 0D O DB NN DOD OD FF WD) PPO =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 14 of 25

‘er

Exhibit D: Direct Service Providers. Those subpoenas attached as Exhibit D

(discussed above in the context of the preservation order sought) are addressed to

providers of technical and corporate services for Defendants:

VAL-U-CORP Services: The Nevada incorporator for Defendant AAIMG, and
also the only listed address for named individual Defendants Moore, Weinstein,
and Silver, as well as the only listed “contact” address given on the AAIMG
website. Subpoena seeks only contact information for any individuals or
entities connected with Defendant AAIMG.

Nausoft LLC; Demkin; Skillen: The individual and corporate web developers
identified on the AAIMG website, as those responsible for the design,
development and maintenance of the website’s content, and listed as the
technical contact on the registration information for the “AAIMG.com” domain
name. Subpoenas seek only contact and billing information connected with the
AAIMG website.

Everyone’s Internet: The company providing website hosting services for
AAIMG and its website. Subpoena seeks account user data, including
origination information, contact and payment source information, all seeking to
identify those directly responsible for the operation and maintenance of the
AAIMG website.

Hotmail (Microsoft) and Yahoo!: The two Internet-based email account
providers known to host email accounts used by Defendants to operate and
administer the AAIMG website. While Plaintiffs will later seek discovery of the
content of these accounts, these present subpoenas seek only identifying
information, including user contact information, and account creation and

access location information. "°

 

‘0 An Internet access point is a computer with access to the Internet. A user at an
Internet access point at any point in time is identified by an Internet Protocol (IP) address,
comprised of a dotted decimal notation (for e.g.: “192.168.1.1) that uniquely identifies a
particular Internet access point at a certain time. Free email providers routinely maintain
records of IP addresses used to create free email accounts accounts; such IP addresses

14 CONSOLIDATED EX PARTE MOTIONS

 
Co Oo DO NN OD OO FP WO DY =

PO NRO RO NRO PR NR NO FP NO F mae ma ma ms se se a> aS
oN OD ON BP WO YO | TD HO DB NN DOD ON FR WO PP =

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 15 of 25

— “ae

« Network Solutions; Go Daddy Software: The Internet registrars with which
the “AAIMG.com” domain name was or is currently registered. Subpoena seeks
all contact and billing information connected with the registration and
maintenance of the domain name.

Exhibit E: ISPs of AAIMG-Related Accounts. Those subpoenas attached as
Exhibit E are addressed to Internet service providers (“ISPs”) that provided IP addresses
and Internet access to the Defendants, or to other not yet unidentified AAIMG agents.
The IP addresses in the subpoenas were used by Defendants when Defendants sent and
received email from their Hotmail email accounts, as verified by address verification links
contained within emails sent to the AAIMG email addresses. The address verification
links served as a “return receipt requested” protocol, which provided Plaintiff with the
verified IP addresses used by Defendants when Defendants communicated through their
Hotmail email accounts. While it appears, and shall be verified, that several of these ISP
accounts are held by public Internet access providers (such as Internet cafés and hotels),
several ISP accounts are of the account type consistent with local, residential and small-
business subscribers.

These subpoenas seek only identifying user account information, such as contact
and billing information, and account creation and access location information (originating
IP addresses, explained above).

e. Order Should Therefore Issue

As Plaintiffs have demonstrated a compelling need for the information sought, as
the information is necessary to the proper pleadings and service of process in the present
case, and as the discovery is carefully drafted to seek only that identifying information

necessary to redress those needs, Plaintiff prays the Court issue the order requested.

 

will identify the [SPs providing an Internet connection to a particular access point, and
ISPs in turn can be served with discovery requests to identify those account holders who
use the access points. A further identifying piece of information is a “MAC,” or “media
control access” address, which uniquely identifies the hardware of a user’s connecting
device.

15 CONSOLIDATED EX PARTE MOTIONS

 
oD OO ON DD Oo FPF |W NYO =

NR PO NM PMR NM MB NO NPB NO FF Ff fe FO Fe FO SFeOoODFserrmrmrmdmrOmrO)hdhUmcOoM
Oo N OD Oo BP WD NY AF ODO oO WO NN DW Oo FBR WO NY

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 16 of 25

‘mer’ aor

Hl. ORDER TO FILE UNDER SEAL

Lastly, pursuant to the above-discussed concerns regarding the propensity of
named and (as yet} unnamed Defendants to hide information, evade discovery, and
destroy evidence, Plaintiff ST. MATTHEW’s seeks an order that these Motions, the
attached verified Complaint submitted for in camera review, and any subsequent filings in
the present case, including the immediate motion, any orders to be issued in the case,
and the case register, be filed under seal, pending the identification and service of all
proper Defendants to this case, or until such time this Court deems proper to lift such
seal, or upon motion properly brought and granted.
IV. EFFECTIVE RELIEF MUST AND SHOULD BE GRANTED EX PARTE

a. LR 7-5 and Rule 65 Requirements Met

The facts and arguments stated above, combined with those contained in the
attached Complaint, constitute the requisite showing of “good cause” and irreparable
harm under L.R. 7-5 and Rule 65 of the Federal Rules of Civil Procedure. By the filing of
these Motions, and by the allegations in the attached Complaint, Plaintiff and its attorneys
have certified the reasons as to why the relief sought herein must and should be granted
on an ex parte basis, with no notice to Defendants: should such notice be provided, there
is considerable and justified reason to fear the destruction of necessary evidence, hiding
of assets, and evasion of service on the part of named and as yet unidentified parties
responsible for the unlawful acts upon which this case is predicated.

i/l

16 CONSOLIDATED EX PARTE MOTIONS

 
—

oO OO OD NN OD OO FP W DN

NR PO PhP PM MT PNY PM HM KM FF Ba Be Bae Bae |e Sse SF |S |
Oo N @D an BP WO NYN F- 8CO OO DB nN DOD OT BP WO HPO —

 

Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 17 of 25

‘ear’ ar

WHEREFORE, Plaintiff prays that this Court issue the orders requested herein, in

the form filed herewith.

DATED: July 8, 2005. KRONENBERGER & ASSOCIATES

3, CoA:

Karl S. Kronenberger

Terri R. Hanley

Attorneys for Plaintiff

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

 

DATED: July _, 2005. GREENBERG TRAURIG, LLP

“Dd

Mark G. Tratos —

F. Christopher Austin

Ronald D. Green, Jr.

Designated Local Counsel for Plaintiff

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

CONSOLIDATED EX PARTE MOTIONS |

17

 

 

 

|
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 18 of 25

_ American Association of Intern:.tional Medical Gr: es
—w “eer

—

AMERICAN ASSOCIATION
OF INTERNATIONAL
MEDICAL GRADUATES

thick here to enter

  
 
 

Equal Opportunity
Equal Evaluation
Equal Access

NN

 

All Serious Medical Students Need
to Read the AAIMG "Words of Wisdom."

© AAIMG, 2002
Design and web hosting by OOO Nautilus, Russia
Disclaimer: OOO Nautilus disclaims any responsibility for the content of this
website provided by AAIMG.

fattest

http://www.aaimg.cony [4/21/2005 3:28:51 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 19 of 25

American Association of International Medica: Gr tes
=—w =

 

The American Association of International Medical
Graduates, hereafter referred to as AAIMG, was founded
in 1992 as a non-profit organization to promote
oe acceptance of United States citizen international medical
os graduates into mainstream American medical practice.

AAIMG recognizes that thousands of highly qualified U.S.
citizens are denied admission to medical school each year
and must study abroad. Current medical school admission
standards in the United States overemphasize the

importance of standardized tests and grade point average.

 

 

AAMIG recognizes that there are many qualities that go into the making of a
skilled, compassionate physician. The organization therefore does not define merit
solely on the basis of test scores and grades. We support the right of individuals
who are denied access to medical education in their own country to seek
professional satisfaction by studying medicine outside of the continental United
States.

AAIMG recognizes that there are layers of prejudice and discrimination that must
be overcome in order for American International Medical Graduates to gain fair
access to postgraduate training positions and professional employment
opportunities.

 

http:/Awww.aaimg.com/misst.html [4/21/2005 3:28:54 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 20 of 25

American Association of International Medical luates
we

  
  

To serve as an accurate information source
for American citizens unable to gain
acceptance into medical schools in the
United States.

e To encourage training directors and

me hospitals in the United States to provide
clerkship opportunities in the third and
fourth year to American citizens studying
rnedicine abroad.

 

 

 

e To promote equality of testing and evaluation of all International Medical
Graduates.

e To encourage residency training directors to give equal consideration to
qualified American International Medical Graduates for postgraduate training
positions.

» To promote equal treatment of International Medical Graduates by all fifty
state licensing boards.

 

e To overcome prejudice in the mainstream American medical community and
society at large toward our citizens who study medicine abroad.

 

http://www.aaimg.com/goals/index.html [4/21/2005 3:28:56 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 21 of 25

Amerigan Association of Irternational Medical juates

aw

 

EYAL
INTERNATION

 

Alarmed by the world wide proliferation of medical schools recruiting U.S. citizens,
in 1999 AAIMG launched a comprehensive study of Caribbean Basin medical
schools to assist prospective medical students with objective screening criteria and
evaluative data. Since that period, evaluations of medical schools catering to
American citizens in Mexico, Central America, the United Kingdom and Eastern
Europe have been completed in 2001 and 2003. The small number of schools in
the Pacific Basin are no longer operating according to the latest Word Health
Organization report.

Initially, the World Health Organization was contacted to
verify current listing of all schools in these regions. In
some cases, local governments were contact to determine
actual physical presence of the medical school and the
ability of graduates to be licensed in that country.
Marketing materials such as catalogs and web sites were
carefully analyzed. Telephone calls were made to
recruiting offices by “prospective” applicants with a
standard list of questions. In some cases, email
correspondence was initiated. Special attention was paid
to asking questions that would identify schools willing to
deviate from stated admission criteria, especially those
medical schools granting advanced standing to allied health care professionals.
Additional questions focused on distance learning components of the curriculum as
well as fulltime onsite attendance requirements at the basic science campus.

 

 

Site visits were made to admission offices by AAIMG members posing as
prospective applicants or as an applicant-parent team. “Applicants” visited each
basic science campus for tours and interviewed as many students, administrators
and faculty members as time constraints permitted. Directors of hospital Medical
Education departments and some preceptors were contacted to verify the medical
school affiliation and comment on the quality of the medical students in schools
under evaluation. An attempt was made to determine if the international medical
school made any liaison efforts with the clerkship site and made regular visits to
monitor student performance. Comprehensive data searches were conducted to
determine if schools in the study had any history of legal problems with state
licensing boards or loan groups. Any complaint or written material sent directly to
AAIMG indicating serious infractions was verified through original sources.

We are pleased to release the results of our third set of evaluations of medical

http:/Awww.aaimg.com/evaluation/index.htnl (1 of 2) [4/21/2005 3:28:57 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 22 of 25

American Association of Irternational Medical luates
<9" =

schools located in the Caribbean Basin, Mexico, the United Kingdom and
Central America. The Eastern European Report remains as a separate section.
The results represent expanded evaluation process and a list of deficiencies by
category and evaluation objective. A total of 24 medical schools with programs
admitting U.S. students were visited by our evaluation teams. Twelve medical
schools were identified as meeting or exceeding minimum criteria in all
evaluation categories, 12 were deficient. There are site visits pending for two
new schools in the United Kingdom.

AAIMG does not endorse any single school or program. It is purely an information
source to assist applicants in making informed, realistic choices. All prospective
medical students are urged to do their own investigation and draw their own
conclusions by making a personal visit to the medical admission office and the
basic science campus of any foreign school in their final selection pool. However,
it is the policy of AAIMG, however, to automatically place in the deficient
category any school granting advanced placement for course credit to allied
health professionals such as chiropractors, podiatrists, physician assistants
or nurse practitioners. Likewise, any school with significant distance
learning components as part of the curriculum or part-time attendance
requirements is placed in the deficient category.

http://www.aaimg.com/evatuation/index.html (2 of 2) [4/21/2005 3:28:57 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 23 of 25

» Ameri¢an Association of International Medical luates
“ou? we

 

SECTION — |. Admission/Recruiting
SECTION Practices

SECTION ||. Basic Science Curriculum

 

SECTION Ill. Basic Science Campus
SECTION IV. Student Concerns

Y oe oe

SECTION V. Clinical Training Program

 

SECTION VI. Faculty
Vil. Financial

Vill. Legal/Other

 

 

Coho") L GACIYEPSS LOMPOC rund: Pracices:

e There is an admission office with qualified staff in the United States or the
country of origin.

e A published current catalog must accurately represent the medical school
program, composition of the faculty, clerkship training sites and campus
facilities.

e Admission criteria for selecting students are clearly defined in the catalog.
The MCAT or a comparable exam should be required. School does not
ceviate from stated requirements.

e Pre-medical requirements consisting of essential liberal arts and science
courses are listed in the school catalog. No student is admitted with fewer
than 90 semester hours of undergraduate education or equivalent credits
from foreign countries.

e The application fee is a nominal amount. Students should not be required to
pay additional monies to receive scholarship information, loan applications,
cr other types of consideration, or be required to pay a substantial fee to
reserve a seat.

e Adesignated admission committee follows a standardized evaluation and
interview process. Personal interviews of each applicant are highly desirable.
All applicants should be encouraged to visit the basic science campus.

e The medical schoo! does not grant advanced placement to physician
assistants, chiropractors, podiatrists, nurse practitioners, or other applicants
with allied health backgrounds.

e Transfer students are vigorously screened for equivalent educational
standards. The medical school does not take students dismissed from other
rnedical schools for academic or disciplinary reasons.

e Entering classes are of a size compatible with facility size and size of the
faculty. There is sufficient classroom space and housing for all incoming
students.

 

http:/www.aaimg.com/criteria/index.html (1 of 5) {4/21/2005 3:28:59 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 24 of 25

Amerigan Association of International Medical luates

Section lL Basic Science Curriculum:

=~" wer

The basic science and clinical medicine curricula conform to acceptable
standards of licensing boards in the United States.

Detailed course descriptions with credit and semester hours are calculated
for each course and listed in the school catalog.

Elective courses, including research opportunities, are available to all
students.

Beginning and ending dates for each term and academic year are published
in the catalog. The duration of the entire course of study leading to the
Doctor of Medicine degree is not less than 38 months.

Students must be physically present at the basic science campus for the
entire term with the exception of semester breaks or school vacations.
There is a minimum class attendance requirement published in the catalog.
There are clearly stated goals and objectives for each course and a detailed
syllabus with evaluation criteria available to the student at the beginning of
each term.

No component of the curriculum is done by distance learning. Shortened
basic science terms that allow the student to return home for self-study are
not acceptable.

Academically sound standard medical textbooks are required for each
course and clerkship rotation.

A rigorous, objective examination system for each course or academic
component is part of the curriculum.

The basic science curriculum provides supervised pre-clerkship training with
adequate patient and hospital exposure before students enter third year
clerkships.

Students leaving the basic science division are required to demonstrate
proficiency in a standard set of core clinical skills before admission to
clerkships. Evaluators of the skill base should be qualified physicians.

scion WH Basic Science Campus:

The medical schoo! campus is physically located in the country that
authorized its listing by the World Health Organization.

A permanent, independent campus is present with sufficient classrooms,
labs, and equipment to meet the needs of the student body.

Minimum lab requirements should include a gross anatomy lab with cadaver
dissection, a microbiology lab, and a separate microscope lab for pathology
and histology. Gross pathological specimens should be available. A
physiology lab experience is highly desirable.

There is a separate medical library area with a book and periodical collection
that meets the minimum standards of a small medical schoo!. Online
resources such as Medline are available to students and faculty free of
charge.

There are facilities for quiet study time or research available to students.
There is a designated academic dean to supervise the integrity of the basic
science program.

http://www.aaimg.com/criteria/index.html (2 of 5) [4/21/2005 3:28:59 PM]
Case 2:05-cv-00848-BES-LRL Document 2 Filed 07/12/05 Page 25 of 25
American Association of International Medica’ dJuates
“eH we

e An administrative office is staffed by personnel to adequately process
student enrollment, keep records, and attend to routine staff and faculty
needs.

e There are permanent, chaired faculty committees meeting regularly around
curriculum, disciplinary, academic advancement and campus safety issues.

« Grading policies are consistent among all courses and reviewed regularly by
the dean or appropriate committees.

e Inthe case of academic failure or grade disputes, there is a published
student appeal process.

e Student evaluation of courses is conducted on a regular basis.

Section W. Student Concerns:

e The medical school is located in an environment that provides a reasonable
clegree of safety for the student and family members

e Sufficient, affordable, housing is available to accommodate the student
and/or family members.

e Dormitory accommodations at a reasonable rate are available for students
requesting this type of accommodation.

e A meal service or student snack bar is available at affordable prices.

e The medical school provides a service to assist students with off-campus
housing and mediate disputes with landlords or complaints from landlords.

e A student health clinic and/or local health care resources are readily
available for routine health care needs.

e Emergency medical evacuation services/insurance are offered to students at
a reasonable rate.

e The medical school provides support services such as mail distribution
service, community bulletin boards, newsletters, a book store etc.

e Students have free access to internet and email facilities.

e Other amenities including recreational opportunities are available to students
and their families.

e An elected student government association represents student interests to
the medical school administration.

e The medical school promotes an atmosphere that promotes tolerance of
religious and cultural diversity.

e Academic and psychological counseling are available free of charge from
qualified staff or faculty members.

» The student attrition rate for all reasons remains low throughout the
curriculum.

a

Section ¥. Clinics! Training Program:

» The medical school requires no less than 72 weeks of clerkship training. All
required clerkships should have clearly defined goals and objectives.

e There is a designated academic official to supervise the integrity of the
clinical training program.

« Clerkship preceptors are given academic appointments to the medical
school.

http://www.aaimg.com/criteria/index.htm! (3 of 5) [4/21/2005 3:28:59 PM]
